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UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20223-Ml

JENNIFER TROTTER

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, JUNE 2], 2005 at 2:45 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

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. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

1lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required Whenever the conditions set forth in 18 U.S.C. § 3142(1‘] are presentl Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) Will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (EIBS) Order of Temporary Deteniion

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UNITED sAsTE DIsTRiC COURT - WEsTE Dis'TRICT oF ENNEssEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 15 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
.lune 17, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

